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                       IN THE UNITED STATEES OF AMERICA
                        FOR THE DISTRICT OF PUERTO RICO

 WILFREDO RODRIGUEZ, ET. AL.;

 Plaintiffs

        v.                                     Civil No. 18-1257 (DRD)

 JOHN PAULSON, ET. AL.;

 Defendants


                                     JUDGMENT

       Pursuant to the Court’s Opinion and Order (Docket No. 42) granting Defendants’

Motion to Dismiss (Docket No. 21), the Court hereby enters a final judgment DISMISSING

WITH PREJUDICE all federal law claim and DISMISSING WITHOUT PREJUDICE all

state law claims.

       THIS CASE IS NOW CLOSED FOR ALL ADMINISTRATIVE AND STATISTICAL

PURPOSES.

       IT IS SO ORDERED, ADJUDGED AND DECREED.

       In San Juan, Puerto Rico this 23rd day of October, 2019.



                                               /s/ Daniel R. Dominguez
                                               Senior U.S. District Judg
